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                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 TRICIA ANN BAYSINGER F/K/A                        §
 TRICIA A. CRAWFORD,                               §
                                                   §
        Plaintiff,                                 §
                                                   §   Civil Action No. 4:20-cv-00319-RWS-KPJ
 v.                                                §
                                                   §
 BOUNCE ENERGY, INC.,                              §
                                                   §
        Defendant.                                 §

                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff Tricia Ann Baysinger f/k/a Tricia A. Crawford and Defendant Bounce Energy,

 Inc., pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure and through their

 undersigned counsel, respectfully stipulate to dismiss this case in its entirety, with prejudice, and

 with both parties bearing their own costs, fees, and expenses.

 Dated: December 17, 2020.

 Respectfully submitted,
  /s/ James J. Manchee                              /s/ “Trey” B.G. Sandoval III (w/permission)
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on December 17, 2020, a true and correct copy of the foregoing document was

 served upon all counsel of record via the Court’s CM/ECF system pursuant to the Federal Rules of Civil

 Procedure.


                                                /s/ James J. Manchee
                                                James J. Manchee




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